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                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF CALIFORNIA


             JOHN STOSSEL                                            CASE No C 5:21-cv-07385-VKD


                                            Plaintiff(s)
                                                                     ADR CERTIFICATION BY
             v.
                                                                     PARTIES AND COUNSEL
             FACEBOOK, INC., et al.
                                            Defendant(s)

            Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies that he or
            she has:

                  1) Read the handbook entitled “Alternative Dispute Resolution Procedures Handbook”
                     (available at cand.uscourts.gov/adr).
                  2) Discussed with each other the available dispute resolution options provided by the Court
                     and private entities; and
                  3) Considered whether this case might benefit from any of the available dispute resolution
                     options.
                      12/3/2021
             Date:
                                                                                        Party
             Date: 12/3/2021                                         /s/ Sonal N. Mehta
                                                                                      Attorney

            Counsel further certifies that he or she has discussed the selection of an ADR process with
            counsel for the other parties to the case. Based on that discussion, the parties:
                   intend to stipulate to an ADR process
                   prefer to discuss ADR selection with the Assigned Judge at the case management
                  ■



                    conference


                   Date: 12/3/2021                                   /s/ Sonal N. Mehta
                                                                                          Attorney




               Important! E-file this form in ECF using event name: “ADR Certification (ADR LR 3-5 b) of Discussion of ADR
               Options.”



             Form ADR-Cert rev. 1-15-2019
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 1                                   ATTORNEY ATTESTATION

 2          I, Sonal N. Mehta, am the ECF User whose ID and password are being used to file this

 3   ADR Certification. In compliance with Civil Local Rule 5-l(h)(3), I hereby attest that

 4   concurrence in the filing of this document and all attachments has been obtained from each

 5   signatory.

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 7    Dated: December 3, 2021                          By:   /s/ Sonal N. Mehta
                                                              Sonal N. Mehta
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                                                                            ATTORNEY ATTESTATION
                                                                           Case No. 5:21-CV-07385-VKD
